       Case 8:22-cv-02597-DKC         Document 72     Filed 05/14/24    Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             SOUTHERN DIVISION

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                            Plaintiffs,
       v.                                        Civil Action No. DKC 22-2597

FEDERAL HIGHWAY
ADMINISTRATION, et al.,


                            Defendants.

                                  NOTICE OF APPEAL

       Notice is hereby given that Maryland Chapter of the Sierra Club, National Trust

for Historic Preservation in the United States, and Natural Resources Defense Council,

Inc., plaintiffs in the above-captioned matter, appeal to the United States Court of

Appeals for the Fourth Circuit from the final judgment entered in this action on March

20, 2024 (ECF No. 71).



Dated: May 14, 2024                              Respectfully Submitted,

                                                 /s/ Peter J. DeMarco
                                                 Peter J. DeMarco (D. Md. Bar No. 19639)
                                                 Jared E. Knicley (D. Md. Bar No. 18607)
                                                 Natural Resources Defense Council
                                                 1152 15th Street NW, Suite 300
                                                 Washington, DC 20005
                                                 Telephone: (202) 513-6267
                                                 Facsimile: (415) 795-4799
                                                 Email: pdemarco@nrdc.org
                                                 Email: jknicley@nrdc.org
Case 8:22-cv-02597-DKC   Document 72    Filed 05/14/24     Page 2 of 2




                                   Nanding Chen (CA Bar No. 348808)
                                   (admitted pro hac vice)
                                   Natural Resources Defense Council
                                   111 Sutter Street, Floor 21
                                   San Francisco, CA 94104
                                   Telephone: (202) 469-8230
                                   Facsimile: (415) 795-4799
                                   Email: nchen@nrdc.org

                                   Counsel for Plaintiffs Maryland Sierra
                                   Club, National Trust for Historic
                                   Preservation, and Natural Resources
                                   Defense Council

                                   /s/Andrea Ferster
                                   Andrea Ferster (DC Bar No. 384648)
                                   (admitted pro hac vice)
                                   Attorney at Law
                                   2121 Ward Court, N.W. 5th Fl.
                                   Washington, D.C. 20037
                                   Telephone: (202) 974-5142
                                   Email: aferster@railstotrails.org
                                   (signed by Peter J. DeMarco with
                                   permission from Andrea Ferster)

                                   Counsel for Plaintiff Maryland Sierra Club

                                   /s/ Elizabeth S. Merritt
                                   Elizabeth S. Merritt (DC Bar No. 337261)
                                   (admitted pro hac vice)
                                   Deputy General Counsel
                                   National Trust for Historic Preservation
                                   600 14th Street NW, Suite 500
                                   Washington, DC 20005
                                   Telephone: (202) 297-4133
                                   Facsimile: (202) 588-6272
                                   Email: emerritt@savingplaces.org
                                   (signed by Peter J. DeMarco with
                                   permission from Elizabeth S. Merritt)

                                   Counsel for Plaintiff National Trust for
                                   Historic Preservation

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